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Attorneys for Plaintiffs i /i]
UNITED STATES DISTRICT COURT |___sCASHIRs |
SOUTHERN DISTRICT OF NEW YORK COMPLAINT Oo
sais SL CESS a ane eee eee eenmenenneenmeawees x
LUIS LEIVIGANAY, individually and on COLLECTIVE ACTION UNDER
hehalf of others similarly situated, 29 U.S.C. § 216(b)
Plaintiffs, ECF Case
-uguinst-

CIPRIANI 110 LLC., CIPRIANI 200 LLC..
CIPRIANI 42°? STREET, LLC.. CIPRIANI
33 WAL.L. STREFT LLC.. CIPRIANI CLUB
55 LLC.. CIPRIANI FIFTH AVENUE LLC..
CIPRIANI FOODS LLC., CIPRIANI GROUP
LLC... CIPRIANI LA MANAGER LLC..
CIPRIANI LANDMARK MANAGEMENT
LUC. CIPRIANI MANAGER LLC..
CIPRIANI PARK AVENUE LLC., CIPRIANI
QUEENS LLC... CIPRIANI RESTAURANT
55 LLC.. CIPRIANI THEATRE LLC..
CIPRIANI USA INC., DOWNTOWN
RESTAURANT COMPANY LLC.. GC
ALPHA LLC., LANDMARKS BY CIPRIAN]
LLC. VITTORIA CORPORATION.
ARRIGO CIPRIANI, GIUSEPPE CIPRIANI.
und HARRY CIPRIANI,

Defendants.

Plaintiff Luis Lliviganay, individually and on behalf of others similarly situated
(collectively the “Plaintiffs”), by and through his attorneys. Michael Faillace & Associates. P.C.,

upon his knowledge and belief. and as against Defendants Cipriani 110 LLC, Cipriani 200 LLC.
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Cipriani 42™ Street, LLC., Cipriani 55 Wall Street LLC., Cipriani Club 55 LLC., Cipriani Fifth
Avenue LLC., Cipriani Foods LLC., Cipriani Group LLC., Cipriani La Manager LLC., Cipriani
Landmark Management LLC., Cipriani Manager LLC., Cipriani Park Avenue LLC., Cipriani
Queens LLC., Cipriani Restaurant 55 LLC., Cipriani Theater LLC.., Cipriani USA INC.,
Downtown Restaurant Company LLC., GC Alpha LLC., Landmarks By Cipriani LLC., Vittoria
Corporation (hereinafter “Cipriani”), and Arrigo Cipriani, Giuseppe Cipriani, and Harry Cipriani,

(collectively the “Defendants”), allege as follows:

NATURE OF THE ACTION

ji Plaintiff is a former employee of Defendants Cipriani and Arrigo Cipriani,
Giuseppe Cipriani, and Harry Cipriani, who own and operate several Italian restaurants
throughout Manhattan, New York under various versions of the name Cipriani.

2. Upon information and belief, Cipriani is comprised of twenty corporations that act
in partnership with one another in the operation and management of a chain of Italian restaurants
in the state of New York. The corporations include: Cipriani 110 LLC, Cipriani 200 LLC.,
Cipriani 42" Street, LLC., Cipriani 55 Wall Street LLC., Cipriani Club 55 LLC., Cipriani Fifth
Avenue LLC., Cipriani Foods LLC., Cipriani Group LLC., Cipriani La Manager LLC., Cipriani
Landmark Management LLC., Cipriani Manager LLC., Cipriani Park Avenue LLC., Cipriani
Queens LLC., Cipriani Restaurant 55 LLC., Cipriani Theater LLC., Cipriani USA INC.,
Downtown Restaurant Company LLC., GC Alpha LLC., Landmarks By Cipriani LLC., Vittoria

Corporation,
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3: Upon information and belief, Cipriani is owned and operated by Individual
Defendants, Arrigo Cipriani, Giuseppe Cipriani, and Harry Cipriani, who are or were doing
business with different trade names, and who are sued as individuals that operated as directors
and officers of Cipriani.

4, Defendant Cipriani, by and through its owners, operates restaurants located at 781
Fifth Avenue, 376 West Broadway, 89 East aon Street, 55 Wall Street, 30 Rockefeller Plaza, and
110 East 42" Street, New York, New York, under various versions of the name Cipriani...

5; At all times relevant to this complaint, Defendants maintained a policy and
practice of requiring the Plaintiff to work in excess of forty (40) hours per week without paying
him the overtime compensation required by federal and state laws.

6. Plaintiff now brings this action on behalf of himself, and other similarly situated
individuals, to recover unpaid overtime wages pursuant to the Fair Labor Standards Act of 1938,
29 U.S.C. §§ 201 et seq. (“FLSA”), and liquidated damages, interest, attorneys’ fees, and costs,
and the “spread of hours” and overtime wage orders of the New York Commission of Labor
codified at N.Y. Comp. Copes R. & REGs. tit. 12, § 137-1.7 (2006) (herein the “Spread of Hours
Wage Order”).

7. Plaintiff seeks certification of this action as a collective action on behalf of
himself, individually, and all other similarly situated employees and former employees of the

Defendants pursuant to 29 U.S.C. § 216(b).

JURISDICTION AND VENUE
8. This Court has subject matter jurisdiction under 28 U.S.C. § 1331 pursuant to

claims asserted under the Fair Labor Standards Act of 193 8, 29 U.S.C. §§ 201 ef seg. (“FLSA”),
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and supplemental jurisdiction over Plaintiffs state law claims is conferred by 28 U.S.C. §
1367(a).

9: Venue is proper in this District under 28 U.S.C. §1391(b) and (c) because all or a
substantial part of the events or omissions giving rise to the claims occurred in the State of New
York within this district. Defendant Cipriani, by and through its owners, operates a chain of
Italian restaurants located in this district, and exists under the laws of the State of New York.

Further, Plaintiff was employed by Defendants in this district.

THE PARTIES
Plaintiff Luis Lliviganay

10. Plaintiff Luis Lliviganay (“Plaintiff Lliviganay” or “Mr. Lliviganay”) is an adult
individual residing in New York County, New York.

11. Plaintiff Lliviganay had been employed by the Defendants from approximately
January 2003 until December 2008.

12. Throughout his employment with the Defendants, Plaintiff Lliviganay worked at
the following locations: 781 Fifth Avenue, New York, New York: 376 West Broadway, New
York, New York; and 89 East 42" Street, New York, New York.

13. Plaintiff Lliviganay’s duties included (and have included for all times relevant to
this action), working in the kitchen, preparing and cooking the meals.

14. More specifically, Mr. Llivigany worked at the sauté grill, cooking sauces and
grilling steaks and fish, from approximately January 2003 until June 2005. He worked as a sous
chef from approximately June 2005 until September 2008, and as a chef from September 2008
until December 2008. His duties as a sous chef and chef consisted of preparing the food items

and cooking the meals that contained rabbit, lamb, fish and veal.

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15. Plaintiff Lliviganay’s work duties required neither discretion nor independent
Judgment.

16. From approximately January 2003 until December 2008, Plaintiff Llivi ganay
regularly worked in excess of 40 hours per week.

17. From approximately January 2003 until September 2008, Plaintiff Lliviganay
worked a shift from 9:00 a.m. to 12:00 a.m., five days per week. From approximately September
2008 until December 2008, Mr. Lliviganay worked a shift from 9:00 a.m. to 9:00 p.m., six days
per week. During his final three weeks of employment, he worked from 9:00 a.m. to 11:00 p.m.,
six days per week.

18. Plaintiff Lliviganay was paid $980.00 gross per week from approximately January
2003 until June 2003. Mr. Lliviganay was paid $1500.00 gross per week from approximately
June 2003 until September 2008. He was paid $1350.00 gross per week from approximately
September 2008 until December 2008.

19. During his employment with the Defendants, Plaintiff Llivi ganay was paid witha
check.

20. Plaintiff Lliviganay’s pay stubs only reflected that he worked forty hours per
week.

21. Therefore, Defendants did not provide Mr. Llivi ganay with any document or other
statement with an accurate accounting for Mr. Lliviganay’s actual hours worked.

22. No notification, either in the form of posted notices, or other means, was ever
given to Plaintiff Lliviganay regarding wages as required under the NYLL.

Defendants
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23. Defendant Cipriani 110 LLC. (“Cipriani 110” or “Defendant Corporation”) is a
corporation organized and existing under the laws of the State of New York. Defendant
Corporation owns and operates a chain of Italian restaurants throughout Manhattan, New York
under various versions of the name Cipriani, at all times relevant to this complaint. Upon
information and belief it maintains its principle place of business at 110 East 42™ Street, New
York, New York.

24. Defendant Cipriani 200 LLC. (“Cipriani 200” or “Defendant Corporation”) is a
corporation organized and existing under the laws of the State of New York. Defendant
Corporation owns and operates a chain of Italian restaurants throughout Manhattan, New York
under various versions of the name Cipriani, at all times relevant to this complaint. Upon
information and belief it maintains its principle place of business at 110 East 42" Street, New
York, New York.

25. Defendant Cipriani 42" Street, LLC. (“Cipriani 42"! Street” or “Defendant
Corporation”) is a corporation organized and existing under the laws of the State of New York.
Defendant Corporation owns and operates a chain of Italian restaurants throughout Manhattan,
New York under various versions of the name Cipriani, at all times relevant to this complaint.
Upon information and belief it maintains its principle place of business at 781 5" Avenue, New
York, New York.

26. Defendant Cipriani 55 Wall Street LLC. (“Cipriani 55 Wall Street” or “Defendant
Corporation”) is a corporation organized and existing under the laws of the State of New York.
Defendant Corporation owns and operates a chain of Italian restaurants throughout Manhattan,

New York under various versions of the name Cipriani, at all times relevant to this complaint.
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Upon information and belief it maintains its principle place of business at 110 East 42™ Street,
New York, New York.

27. Defendant Cipriani Club 55 LLC. (“Cipriani 55 Wall Street” or “Defendant
Corporation”) is a corporation organized and existing under the laws of the State of New York.
Defendant Corporation owns and operates a chain of Italian restaurants throughout Manhattan,
New York under various versions of the name Cipriani, at all times relevant to this complaint.
Upon information and belief it maintains its principle place of business at 110 East 42" Street,
New York, New York.

28. Defendant Cipriani Fifth Avenue LLC. (“Cipriani Fifth Avenue” or “Defendant
Corporation”) is a corporation organized and existing under the laws of the State of New York.
Defendant Corporation owns and operates a chain of Italian restaurants throughout Manhattan,
New York under various versions of the name Cipriani, at all times relevant to this complaint.
Upon information and belief it maintains its principle place of business at 110 East 42"! Street,
New York, New York.

29; Defendant Cipriani Foods LLC. (“Cipriani Foods” or “Defendant Corporation”) is
a corporation organized and existing under the laws of the State of New York. Defendant
Corporation owns and operates a chain of Italian restaurants throughout Manhattan, New York
under various versions of the name Cipriani, at all times relevant to this complaint. Upon
information and belief it maintains its principle place of business at 110 East 42™ Street, New
York, New York.

30. Defendant Cipriani Group LLC. (“Cipriani Group” or “Defendant Corporation”)
is a corporation organized and exi sting under the laws of the State of New York. Defendant

Corporation owns and operates a chain of Italian restaurants throughout Manhattan, New York
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under various versions of the name Cipriani, at all times relevant to this complaint. Upon
information and belief it maintains its principle place of business at 110 East 42™ Street, New
York, New York.

31. La Manager Defendant Cipriani La Manager LLC. (“Cipriani La Manager” or
“Defendant Corporation”) is a corporation organized and existing under the laws of the State of
New York. Defendant Corporation owns and operates a chain of Italian restaurants throughout
Manhattan, New York under various versions of the name Cipriani, at all times relevant to this
complaint. Upon information and belief it maintains its principle place of business at 110 East
42" Street, New York, New York.

32. Defendant Cipriani Landmark Management LLC. (“Cipriani Landmark
Management” or “Defendant Corporation”) is a corporation organized and existing under the
laws of the State of New York. Defendant Corporation owns and operates a chain of Italian
restaurants throughout Manhattan, New York under various versions of the name Cipriani, at all
times relevant to this complaint. Upon information and belief it maintains its principle place of
business at 110 East 42" Street, New York, New York.

33. Defendant Cipriani Manager LLC. (“Cipriani Manager” or “Defendant
Corporation”) is a corporation organized and existing under the laws of the State of New York.
Defendant Corporation owns and operates a chain of Italian restaurants throughout Manhattan,
New York under various versions of the name Cipriani, at all times relevant to this complaint.
Upon information and belief it maintains its principle place of business at 110 East 42" Street,
New York, New York.

34. Defendant Cipriani Park Avenue LLC. (“Cipriani Park Avenue” or “Defendant

Corporation”) is a corporation organized and existing under the laws of the State of New York.
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Defendant Corporation owns and operates a chain of Italian restaurants throughout Manhattan,
New York under various versions of the name Cipriani, at all times relevant to this complaint.
Upon information and belief it maintains its principle place of business at 110 East 42™ Street,
New York, New York.

35. Defendant Cipriani Queens LLC. (“Cipriani Queens” or “Defendant
Corporation”) is a corporation organized and existing under the laws of the State of New York.
Defendant Corporation owns and operates a chain of Italian restaurants throughout Manhattan,
New York under various versions of the name Cipriani, at all times relevant to this complaint.
Upon information and belief it maintains its principle place of business at 110 East 42" Street.
New York, New York.

36. Defendant Cipriani Restaurant 55 LLC. (“Cipriani Restaurant 55” or “Defendant
Corporation”) is a corporation organized and existing under the laws of the State of New York.
Defendant Corporation owns and operates a chain of Italian restaurants throughout Manhattan,
New York under various versions of the name Cipriani, at all times relevant to this complaint.
Upon information and belief it maintains its principle place of business at 110 East 42" Street.
New York, New York.

37. Defendant Cipriani Theater LLC. (“Cipriani Theater” or “Defendant
Corporation”) is a corporation organized and existing under the laws of the State of New York.
Defendant Corporation owns and operates a chain of Italian restaurants throughout Manhattan,
New York under various versions of the name Cipriani, at all times relevant to this complaint.
Upon information and belief it maintains its principle place of business at 110 East 42™ Street,

New York, New York.
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38. Defendant Cipriani USA Inc. (“Cipriani USA” or “Defendant Corporation”) is a
corporation organized and existing under the laws of the State of New York. Defendant
Corporation owns and operates a chain of Italian restaurants throughout Manhattan, New York
under various versions of the name Cipriani, at all times relevant to this complaint. Upon
information and belief it maintains its principle place of business at 110 East 42" Street, New
York, New York.

39. Defendant Downtown Restaurant Company LLC. (“Downtown Restaurant
Company” or “Defendant Corporation”) is a corporation organized and existing under the laws
of the State of New York. Defendant Corporation owns and operates a chain of Italian
restaurants throughout Manhattan, New York under various versions of the name Cipriani, at all
times relevant to this complaint. Upon information and belief it maintains its principle place of
business at 110 East 42"4 Street, New York, New York.

40, Defendant GC Alpha LLC. (“GC Alpha” or “Defendant Corporation”) isa
corporation organized and existing under the laws of the State of New York. Defendant
Corporation owns and operates a chain of Italian restaurants throughout Manhattan, New York
under various versions of the name Cipriani, at all times relevant to this complaint. Upon
information and belief it maintains its principle place of business at 110 East 42" Street, New
York, New York.

41. Defendant Landmarks By Cipriani LLC. (“Landmarks By Cipriani” or
“Defendant Corporation”) is a corporation organized and existing under the laws of the State of
New York. Defendant Corporation owns and operates a chain of Italian restaurants throughout

Manhattan, New York under various versions of the name Cipriani, at all times relevant to this

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complaint. Upon information and belief it maintains its principle place of business at 110 East
42™ Street, New York, New York.

42. Defendant Vittoria Corporation (“Vittoria” or “Defendant Corporation”) is a
corporation organized and existing under the laws of the State of New York. Defendant
Corporation owns and operates a chain of Italian restaurants throughout Manhattan, New York
under various versions of the name Cipriani, at all times relevant to this complaint. Upon
information and belief it maintains its principle place of business at 781 Fifth Avenue, New
York, New York.

43. Defendant Arrigo Cipriani (“Defendant Arrigo”) is an individual engaged in
business in this judicial district. Defendant Arrigo is sued individually in his capacity as an
owner, officer and/or agent of Defendant Corporations. Defendant Arrigo possesses operational
control over Defendant Corporations, possesses an ownershi p interest in Defendant
Corporations, controls significant functions of Defendant Corporations, determines the wages
and compensation of the employees, establish the schedules of the employees, maintains
employee records, and has the authority to hire and fire employees.

44. Defendant Giuseppe Cipriani (“Defendant Giuseppe”) is an individual engaged in
business in this judicial district. Defendant Giuseppe is sued individually in his Capacity as an
owner, officer and/or agent of Defendant Corporations. Defendant Giuseppe possesses
operational control over Defendant Corporations, possesses an ownership interest in Defendant
Corporations, controls significant functions of Defendant Corporations, determines the wages
and compensation of the employees, establish the schedules of the employees, maintains

employee records, and has the authority to hire and fire employees.

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45, Defendant Harry Giuseppe (“Defendant Harry”) is an individual engaged in
business in this judicial district. Defendant Harry is sued individually in his capacity as an
owner, officer and/or agent of Defendant Corporations. Defendant Harry possesses operational
control over Defendant Corporations, possesses an ownership interest in Defendant
Corporations, controls significant functions of Defendant Corporations, determines the wages
and compensation of the employees, establish the schedules of the employees, maintains

employee records, and has the authority to hire and fire employees.

FACTUAL ALLEGATIONS
Defendants Constitute Joint Employers

46. Upon information and belief, Cipriani (“Defendant Corporations”) is comprised
of twenty corporations that act in partnership with one another in the operation and management
of a chain of Italian restaurants in the state of New York.

47. Defendant Corporations are owned, controlled, and operated by Individual
Defendants Arrigo Cipriani, Giuseppe Cipriani, and Harry Cipriani.

48. Defendants are associated and joint employers, act in the interest of each other
with respect to employees, pay employees by the same method, and share control over the
employees.

49, In each year from 2003 to the present, the Defendants had gross annual sales of
not less than $500,000.

50. Upon information and belief, Defendant Arrigo Cipriani (1) operates Defendant
Corporations as either an alter ego of himself, and/or (2) fails to operate Defendant Corporations
as an entity legally separate and apart from his own self, by, amongst other things, (a) failing to

adhere to the corporate formalities necessary to operate Defendant Corporations as a corporation,

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(b) defectively forming or maintaining the corporate entity of Defendant Corporations, by
amongst other things failing to hold annual meetings or maintaining appropriate corporate
records, (c) transferring assets and debts freely as between all Defendants, (d) operating
Defendant Corporations for his own benefit as the sole or majority shareholder, (e) operating
Defendant Corporations for his own benefit and maintaining control over it as a closed
corporation, (f) intermingling assets and debts of his own with Defendant Corporations, (g)
diminishing and/or transferring assets in favor of bankruptcy of the entity to avoid full liability as
necessary to protect his own interests, and (h) other actions evincing a failure to adhere to the
corporate form, thereby allowing for a breach of the corporate veil.

51. Upon information and belief, Defendant Giuseppe Cipriani (1) operates
Defendant Corporations as either an alter ego of himself, and/or (2) fails to operate Defendant
Corporations as an entity legally separate and apart from his own self, by, amongst other things,
(a) failing to adhere to the corporate formalities necessary to operate Defendant Corporations as
a corporation, (b) defectively forming or maintaining the corporate entity of Defendant
Corporations, by amongst other things failing to hold annual meetings or maintaining appropriate
corporate records, (c) transferring assets and debts freely as between all Defendants, (d)
operating Defendant Corporations for his own benefit as the sole or majority shareholder, (e)
operating Defendant Corporations for his own benefit and maintaining contro! over it as a closed
corporation, (f) intermingling assets and debts of his own with Defendant Corporations, (g)
diminishing and/or transferring assets in favor of bankruptcy of the entity to avoid full liability as
necessary to protect his own interests, and (h) other actions evincing a failure to adhere to the

corporate form, thereby allowing for a breach of the corporate veil.
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52. Upon information and belief, Defendant Harry Cipriani (1) operates Defendant
Corporations as either an alter ego of himself, and/or (2) fails to operate Defendant Corporations
as an entity legally separate and apart from his own self. by, amongst other things, (a) failing to
adhere to the corporate formalities necessary to operate Defendant Corporations as a corporation,
(b) defectively forming or maintaining the corporate entity of Defendant Corporations, by
amongst other things failing to hold annual meetings or maintaining appropriate corporate
records, (c) transferring assets and debts freely as between all Defendants, (d) operating
Defendant Corporations for his own benefit as the sole or majority shareholder, (e) operating
Defendant Corporations for his own benefit and maintaining control over it as a closed
corporation, (f) intermingling assets and debts of his own with Defendant Corporations, (g)
diminishing and/or transferring assets in favor of bankruptcy of the entity to avoid full liability as
necessary to protect his own interests, and (h) other actions evincing a failure to adhere to the
corporate form, thereby allowing for a breach of the corporate veil.

53. Atall relevant times, Defendants were the Plaintiff's employers within the
meaning of the FLSA and New York Labor Law. Defendants had the power to hire and fire
Plaintiff, contro! his terms and conditions of employment, and determine the rate and method of

any compensation in exchange for Plaintiff's services.

General Employment Practices
54. Defendants regularly required Plaintiff to work in excess of forty (40) hours per
week, and more than 10 hours per day, without paying him the proper rate of overtime wages or

spread of hour compensation.

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55. Defendants willfully disregarded and purposefully evaded recordkeeping
requirements of the Fair Labor Standards Act and New York Labor Law by neglecting to
maintain accurate and complete timesheets and payroll records.

56. For example, Defendants paid the Plaintiff with a check, where he was only paid
for forty hours per week.

57. Ina deliberate attempt to avoid its overtime obligations under the FLSA,
Defendants manipulated the payroll records for Plaintiff and those similarly situated by onl y
reflecting that the Plaintiff worked forty hours per week, even though Plaintiff regularly worked
in excess of forty hours per week.

58. Upon information and belief, this was done to disguise the actual number of hours
Plaintiffs worked, and to avoid paying Plaintiffs properly (1) for overtime due, and (2) for spread
of hours pay.

59. Defendants failed to post at the workplace, or otherwise provide to employees, the
required postings or notices to employees regarding the applicable wage and hour requirements

of the FLSA and NYLL.

FLSA COLLECTIVE ACTION CLAIMS
60. Plaintiff bring his FLSA overtime, and liquidated damages claims as a collective
action pursuant to FLSA Section 16(b), 29 U.S.C. § 216(b), on behalf of all similarly situated
persons who are or were employed by Defendants or any of them, on or after the date that is
three years before the filing of the complaint in this case (the “FLSA Class Period”), as

employees of Defendants (the “FLSA Class”).

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61. At all relevant times, Plaintiff, and other members of the FLSA Class who are
and/or have been similarly situated, have had substantially similar job requirements and pay
provisions, and have been subject to Defendants’ common practices, policies, programs,
procedures, protocols and plans of willfully failing and refusing to pay them at a one and one-
half their regular rates for work in excess of forty (40) hours per workweek, and willfully failing
to keep records required by the FLSA. The claims of Plaintiff stated herein are similar to those of
the other employees,

FIRST CAUSE OF ACTION
(VIOLATION OF THE OVERTIME PROVISIONS OF THE FLSA)

62. Plaintiff repeats and realleges all paragraphs above as though fully set forth
herein.

63. Defendants intentionally, or otherwise in violation of the F LSA, failed to pay
Plaintiff overtime compensation at rates of one and one-half times the regular rate of pay for
each hour worked in excess of forty hours in a workweek, in violation of 29 U.S.C. § 207 (a)(1).

64. Defendants’ failure to pay Plaintiff and the putative FLSA Class members
overtime compensation was willful within the meaning of 29 U.S.C. § 255(a).

65. Plaintiff has been damaged in an amount to be determined at trial.

SECOND CAUSE OF ACTION
(VIOLATION OF THE OVERTIME PROVISIONS OF THE NEW YORK STATE
LABOR LAW)

66. Plaintiff repeats and realleges all paragraphs above as though fully set forth

herein,

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67. Defendants willfully, or otherwise in violation of the NYLL and associated rules
and regulations, failed to pay Plaintiff overtime compensation at rates of one and one-half times
the regular rate of pay for each hour worked in excess of forty hours in a workweek, in violation
of N.Y. Lab. Law § 190 et seq. and supporting regulations of the New York State Department of

Labor.

68. Defendants failed to pay Plaintiff in a timely fashion, as required by Article 6 of

the New York Labor Law.

69. Defendants’ failure to pay Plaintiff overtime compensation was willful within the

meaning of N.Y. Lab. Law § 663.

70. Plaintiff has been damaged in an amount to be determined at trial.

THIRD CAUSE OF ACTION
(VIOLATION OF THE SPREAD OF HOURS WAGE ORDER OF THE NEW YORK
COMMISSIONER OF LABOR)

Tis Plaintiff repeats and realleges all paragraphs above as though fully set forth
herein.

i. Defendants failed to pay Plaintiff one additional hour’s pay at the basic minimum
wage rate before allowances for each day Plaintiff's spread of hours exceeded ten hours in
violation of New York Lab. Law §§ 190 et seq. and 650 et seg. and the wage order of the New
York Commissioner of Labor codified at N.Y. Comp. CoDEs R. & REGS. tit. 12, § 137-1.7 and
137-3.11.

$34 Defendants’ failure to pay Plaintiff an additional hour’s pay for each day

Plaintiffs spread of hours exceeded ten hours was willful within the meaning of New York Lab.

Law § 663.

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74. Plaintiff has been damaged in an amount to be determined at trial.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court enter judgment against
Defendants:

(a) Designating this action as a collective action and authorizing prompt issuance of
notice pursuant to 29 U.S.C. § 216(b) to all putative class members, apprising them of the
pendency of this action, and permitting them promptly to file consents to be Plaintiffs in the
FLSA claims in this action:

(b) Declaring that Defendants have violated the overtime wage provisions of, and
associated rules and regulations under, the FLSA as to Plaintiff (including the prospective
collective class members);

(c) Declaring that the Defendants have violated the recordkeeping requirements of,
and associated rules and regulations under, the FLSA with respect to Plaintiffs’ (and the
prospective collective class members’) compensation, hours, wages, and any deductions or
credits taken against wages;

(d) Declaring that Defendants’ violation of the provisions of the FLSA were willful
as to Plaintiff (including the prospective collective class members);

(e) Awarding Plaintiff (including the prospective collective class members) damages
for the amount of unpaid overtime wages, and damages for any improper deductions or credits
taken against wages under the FLSA as applicable:

(f) Awarding Plaintiff (including the prospective collective class members)

liquidated damages in an amount equal to 100% of their damages for the amount of unpaid

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overtime wages, and damages for any improper deductions or credits taken against wages under
the FLSA as applicable pursuant to 29 U.S.C. § 216(b);

(g) Declaring that Defendants have violated the overtime wage provisions of, and
rules and orders promulgated under, the NYLL as to Plaintiff:

(h) Declaring that Defendants have violated the Spread of Hours Wage Order of the
New York Commission of Labor as to Plaintiff:

(1) Declaring that the Defendants have violated the recordkeeping requirements of
the NYLL with respect to Plaintiff's compensation, hours, wages; and any deductions or credits
taken against wages;

(j) Declaring that Defendants’ violations of the New York Labor Law and Spread of
Hours Wage Order were willful as to Plaintiff:

(k) Awarding Plaintiff damages for the amount of unpaid overtime wages, damages
for any improper deductions or credits taken against wages, as well as awarding spread of hours
pay under the NYLL as applicable:

(1) Awarding Plaintiff liquidated damages in an amount equal to twenty-five percent
(25%) of the total amount of minimum wage, spread of hours pay, and overtime compensation
shown to be owed pursuant to NYLL § 663 as applicable;

(m) Awarding Plaintiff (including the prospective collective class members) pre-
judgment and post-judgment interest as applicable;

(n) Awarding Plaintiff (including the prospective collective class members) the
expenses incurred in this action, including costs and attorney’s fees; and

(0) All such other and further relief as the Court deems just and proper

Dated: New York, New York

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January 26, 2009
MICHAEL FAILLACE & ASSOCIATES, P.C.

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By: Mm _ \ No
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